Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 1 of
                                      22




                     EXHIBIT 10




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Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 2 of
                                      22




                                                                                     001
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 3 of
                                      22




                                                                                     002
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 4 of
                                      22




                                                                                     003
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 5 of
                                      22




                                                                                     004
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 6 of
                                      22




                                                                                     005
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 7 of
                                      22




                                                                                     006
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 8 of
                                      22




                                                                                     007
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 9 of
                                      22




                                                                                     008
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 10 of
                                       22




  Beaches Negril Resort & Spa

           Lovemyfamily2014
           London, United Kingdom


   Attempted Rape by Member of staff at Beaches negril family resort
   Review of Beaches Negril Resort & Spa
    Reviewed May 30, 2014
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   Be very careful about booking with this company. 12 of my family and friends travelled to this family
   resort for our wedding. The wedding itself wasn't great, it was all very rushed, it's like being on a
   wedding conveyor belt!! Things were forgotten, wine wasn't served, food was cold and to top it all off
   the staff begged my guests for money so they could get taxis home. To sum it all up we weren't
   really impressed at all, the picture Sandals/Beaches sell you is very different to the package they
   actually deliver. This was one thing but what we were about to find out nothing could have prepared
   us for.



   Since returning home my husband and I have found out that one night during our stay at Beaches
   Negril resort and spa, a member of sandals staff tried to rape our daughter. My daughter reported it
   to the first person she came across who was a night guard, my daughter said she didn't want us to
   know about this as she didn't want to ruin our wedding. My daughter was frightened, in shock, and
   needed help. The night guard told her there was nothing that could be done at that moment and to
   go to her room and go down to the office in the morning. At 12pm the following day a manager was
   finally available to see my daughter! As soon as they knew my daughter wasn't going to say anything
   to anyone they swept it all under the carpet! Sandals never called the police, a doctor or nurse, a
   councillor and they did no investigation into this at all! My daughter was a couple of weeks passed
   her 18th birthday, she had no idea what to do in this situation except to trust this despicable
   company who in turn did everything possible to cover their own backs.

   I have written to the C.E.O Mr Adam Stewart and made him fully aware of this terrible situation and
   the appalling way it was dealt with, he hasn't responded to any of my Emails. I have spoken with vice
   president of customer services Ms Christine Taylor over several months and she feels everything
   that could of been done for my daughter was done. They say they offered to call the police in but my
   daughter didn't want anyone to know, my daughter says they didn't offer to call the police in. They
   say their 'hands were tied' as my daughter didn't want anyone to know about it, my daughter says
   she only said she didn't want us to know about it. I asked Sandals 'where are your procedures?' This
   is a criminal act, the police should have been called by you regardless what anybody else wanted.
   They say 'our hands were tied' your daughter didn't want anyone to know. I asked why they were
   continually looking to my 18 yr old daughter, who was the victim, scared, alone and in shock who
   didn't have a clue what to do in a situation like this, to tell them what they should be doing and how




                                                                                                            009
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 11 of
                                       22

   to handle this situation, I say they should have acted immediately and not left it until the following
   morning. The police should have been called and Sandals should have offered my daughter medical
   assistance. A full investigation should have been carried out and this man charged. Where Sandals
   did not call the police there is no official record against this man and he is free to work at any of the
   resorts on the island. Sandals say they sacked the member of staff, I asked how they could legally
   sack him when no investigation was done. Sandals say the member of staff can sue them if he
   wants to, again Where are their procedures? In conclusion, Sandals say 'they did everything they
   could for my daughter' . I will never accept that telling a young girl who has just nearly been raped
   by a member of staff to go away and come back in the morning is the right thing to do!!! They refer to
   the attempted rape on my daughter as 'an unfortunate situation' and they continue to lay the blame
   of nothing being done on my 18 yr old daughters shoulders. I have never been so shocked at the
   attitude of a company! This is a massive company, a multi billion dollar enterprise, they didn't offer
   my daughter one penny in compensation at the time. They didn't explain any kind of complaints
   procedures to her, they did nothing except take advantage of an 18 yr old girl, who was frightened
   and alone. When I asked for them to compensate my daughter for the terrible ordeal she had been
   through, after months of arguing about the way they treated my daughter and the way they dealt with
   this whole situation they offered us 3 nights free accommodation at their resorts with a gagging
   clause!!!!!!!!! Sandals you are a despicable company with no conscience for the damage you have
   caused! As a warning to everyone else, don't take your family to their resorts, don't pay your hard
   earned money to holiday with this terrible company. Would you want your daughter treated like this?
   Sandals & Beaches resorts is a Jamaican company, so when anything goes wrong it falls back on
   the laws in its own country which are few and far between. Book your holidays with American or
   English companies, companies that understand that attempted rape is a very serious crime and
   needs to be dealt with in a very serious way and procedures should be in place and
   followed.....trying to hide it, telling lies and trying to cover it up is not the right thing to do.
   Show less

   Stayed: December 2013, traveled with family
   Ask Lovemyfamily2014 about Beaches Negril Resort & Spa

     90 Thank Lovemyfamily2014                                                                          

   This review is the subjective opinion of a TripAdvisor member and not of TripAdvisor LLC.

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                                                                                                               010
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 12 of
                                       22




                                                                                      011
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 13 of
                                       22




                                                                                      012
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 14 of
                                       22




                                                                                      013
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 15 of
                                       22




                                                                                      014
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 16 of
                                       22




                                                                                      015
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 17 of
                                       22




                                                                                      016
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 18 of
                                       22




                                                                                      017
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 19 of
                                       22




                                                                                      018
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 20 of
                                       22




                                                                                      019
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 21 of
                                       22




                                                                                      020
Case 1:17-cv-21703-MGC Document 162-10 Entered on FLSD Docket 12/21/2019 Page 22 of
                                       22




                                                                                      021
